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 3
         J O AN J A C O BS L EVIE , #179787
 4   L A W O F FIC E S O F J O AN J A C O BS L EVIE
         2014 T U LARE S TREET , S U ITE 528
 5          F RESN O , C ALIFORN IA 93721
           T ELEPH O NE : (559) 498-8155
 6          F ACSIM ILE : (559) 498-8165

 7   Attorney for Defendant, CANDICE BROWN

 8

 9
                             UNITED STATES DISTRICT COURT
10                          EASTERN DISTRICT OF CALIFORNIA
                                        *****
11                                     ) CASE NO. CR-F- 05-000391 OWW
     UNITED STATES OF AMERICA,         )
12                                     )
           Plaintiff,                  ) STIPULATION TO CONTINUE NEXT COURT
13                                     ) HEARING; ORDER
     vs.                               )
14                                     )
                                       )
     CANDICE BROWN, et al.,            )
15
                                       )
16   Defendant.                        )
17             IT     IS     HEREBY             STIPULATED      by     and    between    the    parties   and     their
18   attorneys,        Stanley       A.     Boone,    counsel    for    the   Government,       and   Joan      Jacobs
19
     Levie,     counsel        for     defendant      CANDICE         BROWN,    that    the    next   court   hearing
20
     currently scheduled for May 9, 2006 at 10:00 a.m. be continued until May 22,
21

22
     2006 at 10:00 a.m. before the Hon. Oliver W. Wanger, United States District

23   Court presiding.
24             The parties are actively engaged in plea negotiations in this matter and it
25
     is anticipated that the defendant will enter a change of plea on the new hearing
26
     date.
27

28
     //

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 3
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 4
             The   parties   agree   to   exclude    time   for   the    continuance   on   the   status
 5
     conference pursuant to 18 U.S.C. § 3161(h)(1).
 6

 7   DATED:        May 8, 2006

 8                                        By:        Joan Jacobs Levie
 9
                                                     JOAN JACOBS LEVIE
10
                                                     Attorney for Defendant
11
                                                      CANDICE BROWN
12
     DATED:        May 8, 2006
13                                        By:   Stanley A. Boone
14
                                                STANLEY A. BOONE
                                                Assistant U.S. Attorney
15

16
                                                *****
17
                                                    ORDER
18

19
             IT IS HEREBY ORDERED that the next court hearing will be continued
     in accordance with the above stipulation of counsel.                  The defendant is ordered
20   to return to court for further proceedings on May 22, 2006 at 10:00 a.m.
     DATED: _5/5/06
21

22
                                          By: _/s/Oliver W. Wanger
23
                                                  OLIVER W. WANGER
                                                United States District Court
24

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